                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             DOCKET NO. 5:04CR067-V



UNITED STATES OF AMERICA                     )
                                             )
              vs.                            )
                                             )
JAMES COY ANNAS                              )
_________________________________


                         ORDER DISMISSING INDICTMENT
                    WITHOUT PREJUDICE AS TO JAMES COY ANNAS


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment in the above-

captioned case only as to defendant JAMES COY ANNAS, without prejudice.

       The Clerk is directed to certify copies of this Order to the United States Probation Office,

United States Marshal Service and the United States Attorney's Office.


                                                 Signed: June 26, 2008




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